                   UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                        Charlottesville Division

ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, TYLER MAGILL, APRIL
MUNIZ, HANNAH PEARCE, MARCUS
MARTIN, NATALIE ROMERO, CHELSEA
ALVARADO, and JOHN DOE,

                      Plaintiffs,
v.

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES
ALEX FIELDS, JR., VANGUARD
AMERICA, ANDREW ANGLIN,           Civil Action No. 3:17-cv-00072-NKM
MOONBASE HOLDINGS, LLC, ROBERT
“AZZMADOR” RAY, NATHAN DAMIGO,
ELLIOT KLINE a/k/a/ ELI MOSLEY,
IDENTITY EVROPA, MATTHEW          JURY TRIAL DEMANDED
HEIMBACH, MATTHEW PARROTT a/k/a
DAVID MATTHEW PARROTT,
TRADITIONALIST WORKER PARTY,
MICHAEL HILL, MICHAEL TUBBS,
LEAGUE OF THE SOUTH, JEFF SCHOEP,
NATIONAL SOCIALIST MOVEMENT,
NATIONALIST FRONT, AUGUSTUS SOL
INVICTUS, FRATERNAL ORDER OF THE
ALT-KNIGHTS, MICHAEL “ENOCH”
PEINOVICH, LOYAL WHITE KNIGHTS OF
THE KU KLUX KLAN, and EAST COAST
KNIGHTS OF THE KU KLUX KLAN a/k/a
EAST COAST KNIGHTS OF THE TRUE
INVISIBLE EMPIRE,

                      Defendants.


               NOTICE OF WITHDRAWAL OF APPEARANCE
       PLEASE TAKE NOTICE that Christopher B. Greene of Kaplan Hecker & Fink LLP,

having appeared in this case on behalf of Plaintiffs, gives notice of the withdrawal of his

appearance as counsel of record.

       Plaintiffs shall continue to be represented by remaining counsel of record from Kaplan

Hecker & Fink LLP, Boies Schiller Flexner LLP, Cooley LLP, and Woods Rogers PLC.



       Dated: June 13, 2019                      Respectfully submitted,

                                                 /s/ Christopher B. Greene
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